                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE



 JAMSEY L. FOSTER,

              Petitioner,

 v.                                                      3:06-cr-12
                                                         3:13-cv-231


 UNITED STATES OF AMERICA,

              Respondent.


                                    MEMORANDUM


       This is a motion to vacate, set aside or correct sentence pursuant to 28 U.S.C. § 2255

 filed by petitioner Jamsey L. Foster ("petitioner"). The Clerk is DIRECTED to serve a copy

 of the motion and this Memorandum and accompanying Judgment Order on the United States

 Attorney. However, for the reasons stated below, the United States Attorney shall not be

 required to file an answer or other pleading to the motion, and the motion will be DENIED.

       In addition to pleading guilty to conspiracy to commit money laundering, the

 petitioner pleaded guilty to conspiracy to distribute five kilograms or more of cocaine

 hydrochloride and 50 grams or more of cocaine base. [Criminal Action No. 3:06-cr-12, Doc.

 103 (Under Seal), Plea Agreement, pp. 1-2, ¶¶ 1-2]. By judgment entered December 4, 2006,

 she was sentenced a total term of imprisonment of 196 months. [Id., Doc. 175]. The




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 sentence was subsequently reduced to a total term of imprisonment of 126 months under

 Amendment 750 to the U.S. Sentencing Guidelines. [Id., Doc. 318, Order granting motion

 for reduction of sentence].

        In support of her § 2255 motion, petitioner seeks relief under the recent Supreme

 Court decision in DePierre v. United States, 131 S. Ct. 2225 (2011), in which the Court held

 that "cocaine base" in the federal drug statute means not just crack cocaine but cocaine in its

 chemically basic form. Id. at 2231-32. Petitioner claims that although she pleaded guilty to

 50 grams or more of crack cocaine, she was held accountable at sentencing for more than 1.5

 kilograms of cocaine base. Petitioner contends that DePierre also stands for the proposition

 that she cannot be held accountable for an amount of cocaine base that was not charged or

 proven beyond a reasonable doubt.

        This argument overlooks the fact that in the written Stipulation of Facts in support of

 her plea agreement, petitioner agreed "that for purposes of sentencing, the amount of cocaine

 base for which defendant is accountable for Sentencing Guideline purposes is greater than

 1.5 kilograms." [Criminal Action No. 3:06-cr-12, Doc. 104 (Under Seal), Stipulation of

 Facts, p. 2, ¶ 4]. Petitioner is thus not entitled to relief under § 2255. See, e.g., United States

 v. Calloway, 89 F. App'x 982, 984-85 (6th Cir. 2004) (defendant who stipulated to quantity

 of drugs in guilty plea waived the right to have a jury determine guilt beyond a reasonable

 doubt on that element of the offense).

        It plainly appears from the face of the motion, the annexed exhibits and the prior

 proceedings in the case that the petitioner is not entitled to relief in this court and this action

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 should be summarily dismissed; an evidentiary hearing is not required. Rule 4 of the Rules

 Governing Section 2255 Proceedings For The United States District Courts; Baker v. United

 States, 781 F.2d 85, 92 (6th Cir. 1986); Bryan v. United States, 721 F.2d 572, 577 (6th Cir.

 1983). Accordingly, the motion to vacate, set aside or correct sentence will be DENIED and

 this action DISMISSED.

        In addition to the above, this Court has carefully reviewed this case pursuant to 28

 U.S.C. § 1915(a) and hereby CERTIFIES that any appeal from this action would not be

 taken in good faith and would be totally frivolous. Therefore, this Court will DENY the

 petitioner leave to proceed in forma pauperis on appeal. See Rule 24 of the Federal Rules

 of Appellate Procedure. The petitioner having failed to make a substantial showing of the

 denial of a constitutional right, a certificate of appealability SHALL NOT ISSUE. 28

 U.S.C. § 2253.



        AN APPROPRIATE ORDER WILL ENTER.

                                                         s/ Leon Jordan
                                                    United States District Judge




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